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                    17
                                                      UNITED STATES DISTRICT COURT
                    18
                                                    NORTHERN DISTRICT OF CALIFORNIA
                    19
                                                            SAN FRANCISCO DIVISION
                    20

                    21
                         DIVA LIMOUSINE, LTD., individually and             Case No. 3:18-cv-05546-EMC
                    22   behalf of all others similarly situated,
                                                                            CORRECTED STIPULATION AND
                    23                         Plaintiff,                   ORDER AS MODIFIED RE
                                                                            SCHEDULE FOR MOTION TO
                    24                 vs.                                  DISQUALIFY

                    25   UBER TECHNOLOGIES, INC.; RASIER,
                         LLC; RASIER-CA, LLC; UBER USA, LLC;
                    26   and UATC, LLC.

                    27                         Defendants.

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                           Case No. 3:18-CV-05546-EMC
  SAN FRANCISCO                     CORRECTED STIPULATION AND ORDER RE SCHEDULE FOR MOTION TO DISQUALIFY
                             Case 3:18-cv-05546-EMC Document 38 Filed 10/19/18 Page 2 of 2



                     1          WHEREAS, Plaintiff filed its Complaint in this action on September 10, 2018 (Dkt. 1);
                     2          WHEREAS, Defendants have advised Plaintiff that they will be filing a motion to
                     3   disqualify the Keller Lenkner LLC law firm, which Keller Lenkner LLC intends to oppose;
                     4          WHEREAS, the parties conferred in good faith about an appropriate schedule for the
                     5   briefing and hearing on the motion to disqualify and agree that the motion raises issues that
                     6   should be briefed and heard on a modified schedule;
                     7          THEREFORE, the parties, through their undersigned counsel, and subject to the Court’s
                     8   approval, stipulate to the following schedule for the above-referenced motion to disqualify:
                     9
                                    Event                                 Deadline
                    10              Motion                                October 24, 2018
                    11              Opposition                            October 31, 2018
                    12              Reply                                 November 6, 2018
                                    Noticed Hearing Date                  November 15, 2018 at 1:30 p.m.
                    13

                    14          IT IS SO STIPULATED.
                    15   DATED: October 17, 2018 By:                   /s/ Brian C. Rocca
                    16                                             Brian C. Rocca 1
                                                                   MORGAN, LEWIS & BOCKIUS LLP
                    17                                             Attorneys for Defendants
                    18

                    19   DATED: October 17, 2018 By:                   /s/ Tom Kayes
                    20                                             Tom Kayes (pro hac vice)
                                                                   Keller Lenkner LLC
                    21                                             Attorneys for Plaintiff and the Proposed Classes
                    22

                    23          PURSUANT TO STIPULATION, IT IS SO ORDERED.
                    24   Dated: October 19, 2018                               _________________________________
                                                                                UNITED STATES DISTRICT JUDGE
                    25

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                    27   1
                          Brian C. Rocca, the filer of this document, hereby attests that he obtained the concurrence of the
                    28   other signatory, Tom Kayes, prior to its filing.
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                    1                      Case No. 3:18-CV-05546-EMC
  SAN FRANCISCO                     CORRECTED STIPULATION AND ORDER RE SCHEDULE FOR MOTION TO DISQUALIFY
